


  Johnson, Ch. J.
 

  It is entirely clear that this appeal $an-not be sustained. It is not an appeal from a judgment, but from an order. It therefore is not embraced by the first subdivision of section eleven of the Code. The order does not in
   
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  effect determine the action; on the contrary, it allows the action to proceed, without professing to touch, by decision, the merits. The second subdivision, therefore, does not reach it. NTor is it a final order, affecting a substantial right, made upon a summary application in an action after judgment under the third subdivision. It is not final, but directs a new trial.
 

  The appeal must therefore be dismissed.
 

  All the judges concurring,
 

  Appeal dismissed
 
